✎AO 187 (Rev. 7/87) Exhibit and Witness List



                                      UNITED STATES DISTRICT COURT
                       EASTERN                                 DISTRICT OF                              TENNESSEE


          UNITED STATES OF AMERICA
                                                                                 EXHIBIT AND WITNESS LIST
                         V.
                     AMBER REILLY                                                    Case Number: 2:16-CR-107

PRESIDING JUDGE                                     PLAINTIFF’S ATTORNEY                      DEFENDANT’S ATTORNEY
          J. RONNIE GREER, USDJ                                   T. J. HARKER                             TOM JESSEE
TRIAL DATE (S)                                      COURT REPORTER                            COURTROOM DEPUTY
         SENTENCING HEARING                                   KAREN BRADLEY                             KATHY HOPSON
 PLF.    DEF.     DATE
                             MARKED      ADMITTED                          DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.     NO.     OFFERED

                01/30/17

  W                                                 BRIANNA BROCK

  1                             X              X    PERFORMANCE REVIEWS

  2                             X              X    SEALED

  3                             X              X    SEALED

         W                                          ASHLEY BATES

         W                                          ASHLEY TURBYFILL

         W                                          TODD REILLY

         W                                          AMBER REILLY

          4                     X              X    TAX RECORDS – JOHN & AMBER REILLY (2010 -2016)




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
                                                                                                      Page 1 of      1   Pages




           Case 2:16-cr-00107-JRG Document 19 Filed 01/30/17 Page 1 of 1 PageID #: 139
